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                              UN ITED STATES D ISTR ICT C OUR T
                              SO UTH ERN D ISTR ICT O F FLO RID A

                              CASE N O . 24-M J-03455-Elfenbein                                 TS

   UNITED STA TES OF AM ERICA                                                        Jul 17, 2024
   V.
                                                                                                   Miami, FL
   FAU STO R .VILLAR ,

                  D efendant.


                                   CRIM INAL COVER SIIEET
           Did thismatteroriginatefrom am atterpending in theN orthern Region oftheUnited Sàtes
           Attorney'sOfficepriortoAugust8,2014(M ag.JudgeShaniekM.Maynard)? No.
        2. Did thism atteroriginate from a m atterpending in the CentralRegion oftheU nited States
           Attorney'sOftkepriortoOctober3,2019(M ag.JudgeJaredM .Strauss)? No.
           D id this m atter involve the participation of or consulution w ith now M agistrate Judge
           Eduardo 1.Sanchez during histenure atthe U .S.A ttorney's Office,which concluded on
           January 22,20232 N o.

           Did this m atter involve the participation of orconsulution now M agistrate Judge M arty
           Fulgueira Elfenbein during hertenure atthe U .S.Attorney's Office,which concluded on
           M arch 5,2024? N o.


                                                       Respectfully subm itted,

                                                       M ARKENZY LAPOINTE
                                                       UN ITED STATES A TTORN EY

                                               By: zM lzi & .
                                                       Abbie D .W axman
                                                       AssistntUnited StatesAttorney
                                                       Florida BarN o.:109315
                                                       U .S.Attonzey'sO ffce
                                                       99N .E.4th Street,M iam i,FL 33132
                                                       Tel:(305)961-9240
                                                       Abbie.W axman@ usdoi.cov
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AO91(Rev.08/09)CriminalComplaint                   .                                  '                  '

                               U NITED STATES D ISTRICT COURT
                                                        forthe
                                             Southern DistrictofFlorida

                United St
                        atesofAm erica                       )
                                                             )
                                                             )        CaseNo.24-MJ-03455-Elfenbein
                   Fausto R.Villar,                          )
                                                             )
                                                             )

         CRIM U AL COM PLAU T BY TELEPHONE OR OTHER RELG BLE ELECTRONIC M EANS
         1 tlze.com plainantin thiscase,statethatthefollowing istrueto the bestofmy knowledge and bel2
                                                                                                     lef.
         ,

Onoraboutthe.datets)of November2023throuqhJulv2024 inthecountyof                                  Miami-Dade            inthe
   Southem      Districtof     Flori
                                   da        ,thedefendantts)violated:
             CodeSection                                                tl
                                                                         y-/ènycDescrètion
         18 U.S.C.j1958                                MurderForHire
         18 U.S.C.!2261A                               Stalking
         18 U.S.C.j924(c)                              Possessi on ofa Firearm in Furtheranceofa Crim e ofVi
                                                                                                           olence
         18 U.S.C.j1503                                O bstructi
                                                                on ofJustice
         18 U.S.C.j2                                   Aiding and Abetting



         Thiscrim inalcomplaintisbased on these facts'
                                                     .
         SEE AU ACHED AFFIDAVIT.




         V Continuedontheattachedsheet.
                                                                                                                  Badge 100722
                                                                                        Complainant'ssignature

                                                                                 ConorGoenel,SpecialAcentFBI
                                                                                          Printednameand title


AttestedtobytheApplicantinaccordancewiththerequirementsofFed.R.Crim.P.4.lby Face Tim e
                                                                                     #*,m---n    p *J
                                                                                                 '#'*    /0
                                                                  W
                                                                  .
                                                                           a uvyu.          w p.         j    . y.              ,.
Date. July 17,2024
     .
                                                                       ' 1                  ..
                                                                                            .V          V z                    ' .'
                                                                                            Judge'
                                                                                                 ssignature

City and svte:                     Miami,Florida                       Honorabl
                                                                              eMartyFulguei
                                                                                          raEl
                                                                                             fenbein,UnitedStatesMagistrateJudge
                                                                                          Printednameand title
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                     M 'FIDAW T IN SUPPO RT O F CRTM TNA L COM PLM NT

           YourA fGant,ConorS.Goepel,being duly sworn,deposes and states asfollows:

                         IN TR O DUCTION AND A GENT BACK G R O UND

                  Iam a SpecialAgentfortheFederalBureau oflnvestigation ((TBI'')currently
    assigned to the V iolentCrim esT ugitive Task Force in the M iam iD ivision. I have been an FB1

    SpecialA gentsince Septem ber2021 and havebeen assigned to the M iam iD ivision since February

   2022. 1am an investigative orlaw enforcem entofficeroftheUnited Statesw ithin the meaning of

   Title 18,United States Code,Section 251047),in that1am empowered by law to conduct
    investigations of,and to m ake arrestsfor,federaloffenses. As a SpecialAgentforthe FBI,my

    duties involve the investigation ofa variety of violations offederaloffenses,including,but not

    lim ited to,bank robberies,HobbsA ctrobberies,extortion,and m urderforhire.

                  lam currently a m em berofthe South Florida ViolentCrim e Task Force. A spart

    of m y professional duties and responsibilities, 1 have becom e fam iliar w ith the investigative

   m ethods and enforcem ent of violent crim es pertaining to state and federal laws. l have also

    becom e versed in m ethodologiesand practices employed by individuals and groupswho com m it

   violentcrim es.

                  The facts contained in this Afsdavit are based on m y personal know ledge and

    inform ation provided to rize by other 1aw enforcem entofGcers.This Affidavitis being sttbm itted

    forthe lim ited purpose ofestablishing probablecausefortheproposed com plaint,and assuch does

    not contain every fact know n to m e. Irrspectfully subm it that based upon the facts presented

   below ,thatthere is probable cause to believe thatFausto R .V ILLA R comm itted the offenses of

   M urderforH ire,in violation ofTitle 18,U nited StatesCode,Section 1958,
                                                                          .Stalking,in V iolation

    ofTitle 18,United StatesCode,Section 2261A(2);PossessionofaFirearm inFurtheranceofa
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    CrimeofViolence,inviolationofTitle l8,UnitedStatesCode,Section924(c);andObstruction
    ofJustice,in violation ofTitle l8,U nited States Code,Section 1503 and 2.

                                        PR OBABLE CAUSE
                                            Background
           4.     Since July of 2022, 1aw enforcem ent has been investigating Sergio Pino for

    orchestratingmultipiecontractstokillhisestrangedwife(çlvictim 1'')andhersister,bothresidents
    of M iam i-D ade County.Events surrounding the contracts to killV ictim 1 include,butare not

    lim ited to,m ore than one attemptto poison Victim 1,two separate vehicle arsons atV ictim l's

    sister'sresidence,ahitandrunatVictim 1'sresidenceinPinecrest,Florida(hereinafter,ttvictim
    l'sResidence''),themailingofathreateninglettertoVictim 1,andanassaultonVictim landthe
    daughterofPinoandVictim 1(ttvictim 2'')withaGrearm atVictim l'sResidence,al1occurring
    since2019 through June 2024.Law enforcem entalso discovered thatV ictim lhad been poisoned

    w ith fentanylthrough the tam pering ofherprescribed m edication.

                                  n eFirstM urderforHireF-#br/
                  A s a result of this investigation law enforcem ent secured the arrest of Bayron

    BENNETT,Jerren HOW ARD, MichaelDULFO, and Edner ETIENNE (hereinafter, lEthe
    HOW ARD Group''),forstalking,arson,anduseofinterstatefacilitiesinaidofracketeering.See
    CaseNumbers24-mj-02454-Reid,24-mj-02460-Reid,and24-CR-201lo-Gayles.Asaresultof
    its investigation,law enforcem entlearned thatPino contracted the H OW A RD Group to conduct

    the arsons and hitand run againstV ictim 1. Law enforcem entalso learned thatPino soughtto

    securefentanylfrom m em bersoftheHO W ARD Group in furtherance ofhiseffortsagainstV ictim

    1.M oreover,1aw enforcem entlearned thatPino solicited a price to killV ictim 1.Afterthe arrest

    of the H OW ARD Group, 1aw enforcement leam ed that Pino continued his m urder for hire

    conspiracy w ith a new group ofindividuals,w hich becam e visible on June 23,2024.
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                                 TheSecondM urderforHire.
                                                        E.
                                                         '
                                                         & r/
                  On June 23,2024,àtapproximately 8:45 am,Victim 1,departed herresidencein

    hervehicle.A tapproxim ately 1l:30 am ,V ictim 1returned to herresidence and m omentarily idled

    in herdrivew ay while she waited forthe gate on the westside ofthe house to open.A sV ictim l

    beganto pullinto thedriveway,she observed ablack male individual(lateridentified by 1aw
    enforcementasVernonGreen(('GREEN'')),brandishingafirearm andrunningtowardhervehicle.
    ln fearforhersafety,and in an attem ptto getaw ay,V ictim 1 drove into her backyard,scraping

    the sides ofhercaragainsta tree and a fence. V ictim 1 continuously honked the horrlofhercar

    asshe attempted to getaw ay. GREEN pursued on footand ran into the backyard before he turned

    around and ran back toward the frontofV ictim 1'sResidence.

                  During this tim e,V ictim 1 and Pino's daughter,V ictim 2,w as inside V ictim 1's

    Residence when she heard a loud crash and a vehicle honking.V ictim 2 exited the Residence and

    ran toward the frontofthe house. As she reached the open gate,V ictim 2 noticed a black pickup

    truck parked on the street. GREEN ,com ing from the back ofthe house,ran up behind Victim 2

    and pointed a Grearm atVictim 2'shead. Upon GREEN 'S approach,Victim 2 t'urned around and

    saw GREEN as he pointed a pistolw ith a silver slide inches from her face. GREEN grabbed

    V ictim 2'sarm and told herto go back into thehouse.V ictim 2 then ran back inside.

                  AfterV ictim 2 fled,GREEN ran across the frontyard of V ictim 1's Residence

    tow ard the eastside oftheproperty.M om ents later,GREEN turned back,ran acrosstheyard,and

    entered theback passengersideofablack DodgeRam pickup truck (theHDodgeRam'').The
    Dodge Rnm then rapidly departed the area,which reasonably indicatesthere wasan additional

    individual,S'UBJECT 2,acting asthe getaw ay driver.
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           9.     V ictim 1's Residence is equipped w ith sulweillance cam eras afGxed around the

   property thatcaptured the incident. The video footage show sthe seriesofeventsthattook place:

    1)Victim 1anivingatherresidence;2)theDodgeRam asitanivesandstopsnexttoVictim l's
   Residence;3)GREEN,wearingalight-coloredt-shirqshorts,yellow-coloredboots,abeanie,and
   afacecovering,exitingtheDodgeRam'sbackpassengerside;and4)GREEN runninguptothe
   V ictim 1 holding whatappears to be a firearm in his right hand. The surveillance footage also

    show s:Victim 1driving hervehicletoward thebackyard,while GREEN pursuing on foot.Lastly,

   the video surveillance show sV ictim 2 exitthe residence and GREEN approaching V ictim 2 from

    behind,pointing afireal'm atherhead,and grabbing herarm .

                  Law enforcem ent canvassed V ictim l's neighborhood and obt ined video

   surveillance foot ge show ing that on June 23, 2024, the Dodge Ram anived and parked

   approxim ately one block eastofV ictim 1'sResidence. The Dodge Ram followed closely behind

    awhiteTesla(the(1Tesla''),whichcontinuedwest,passingVictim l'sResidence.Thevideoshows
   the Tesla traveleast,passing Victim l'sResidence less than two m inutes later. The Tesla then

    continued east,passing the D odge Ram ,which then im m ediately departed as they both turned
                         /
   north aw ay from V ictim 1'sResidence. The video then showsthe Dodge Ram return to the sam e

    spotwhere ithad previously parked,where itdid notdepartuntilapproxim ately l1:30 am ,w hen

    Victim 1 returned to hom e.

           11.    In m y training and experience,itis com m on for crim inals to use m ultiple carsto

    com m itcrim es to carry m ultiple co-conspirators. In this case,the close proxim ity of the w hite

   Teslato theD odgeRam overtim e,distance,and change ofdirection indicates adirectrelationship

    between the occupantsofthe D odge Ram and thew hite Tesla.
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                               Ident6 cationandM ovementof Vehkles
                   A further analysis of surveillance video obtained from the vicinity of Victim 1's

   Residence revealed Florida license plate D IOR1 affixed to the rear of the Tesla. lnform ation

   obtained from the Florida DepartmentofHighw ay Safety and M otorV ehicles,driverand vehicle

   information database CDAVID'')disclosesthatthe licenseplate Dl0R1isregistered to Diori
   BARN A'
         RD .A database search show ed BARN ARD ''
                                                 Sregistered residentialaddressto be located

   in M iam i,Florida.

             13.   On June 24, 2024, law enforcem ent conducted surveillance of BAltN AlkD 's

   residence. Parked outside the house w as a white ChevroletTahoe,bearing Florida license plate

   BN SOW L. A DAVID query revealed the Tahoe is registered to BARN ARD . Upon review ing

   licenseplatereader((tPR'')images,onMay3,2024,anLPR collectedanimageofBARNARD'S
   residencethatcaptured the whiteTahoenextto ablack D odge Ram with clzrom e bum pers,sim ilar

   in description to theDodgeRam seen around V ictim 1'sResidenceon June23,2024.ln thisim age,

   an after-m arketLED lightisvisible on the DodgeRam 'sfrontbum per.

             14.   On the afternoon of June 24,2024,FB1surveillance recovered the D odge Ram ,

   with Florida license plate BPI6UV ,abandoned in the vicinity ofSW 70th Avenue and SW 80th

   Streetnearby Victim 1'sResidence.Law enforcem entobserved an after-m arketLED lightaftsxed

   to the Dodge Ram 's front bum per, in the sam e place as the one seen on the Dodge Ram at

   BM kNAlkD'sresidence.Thevehicleidentification number(G:VlN'')associatedwiththeDodge
   Ram , 1C6R1V 86 1M N 533057, is reported stolen. Based on my training and experience,

   perpetrators of violent crim es often use a stolen vehicle to com m itthe crim e,and an additional

   vehicle,in this case the white Tesla,to attem ptto avoid detection and escape the scene of the

   crim e.
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           15.    Law enforcem ent queried for stolen vehicles and received an Orange County

    Sheriff'sDepartment(FL)reportsutingthattheDodgeRam wasstoleninthevicinityofOrlando,
   Florida,in the early m orning hours ofM arch 31,2024.Also contained in thatrepolt $1S.H .,''the

    owneroftheDodgeRam,statedthevehiclecanbedifflrentiatedfrom similarmodels,byanLED
    strobe lightaffixed to the frontbumper.

           l6.    Florida License Plate BP16UV , also reported stolen,is associated w ith a 2013

    orange Toyot.
                a Corolla.iLaw enforcem entlocated and interviewed, 1&A .O .,''the ow nerassociated

    with Florida tag BPI6I.
                          JV.U pon locating A .O .,hisvehicle,a blue Dodge Ram ,wasparked in the

    1otw ith Florida licenseplate 85819 A.affixed to the rear.A .O.acltnowledged the currentplate on

   his truck wasnothisand he had no lcnowledge ofhow thatplate goton his vehicle.A.O .tcld law

    enforcem entthathe had recently visited a W alm art.Law enforcem entphotographed and seized

   the plate forprocessing.In m y training and experience,perpetrators ofcrim es involving vehicles

    willtl'
          y to avoid detection by using stolen vehicles and sw itching the license plate afsxed to a

    vehicle used forcrim inalpurposesto concealthe vehicle's identity.

                  A n LPR review ofFlorida plate 85BM PA revealed that on June l9,2024,at8:41

   pm,A .O .'s blue Dodge Ram was parked at a W alm artin M iam i,Florida.A n LPR review also

    docum ented a M azda C-30,parked in the sam e W alm artat 8:42 pm . A review ofthe W alm art

    surveillance footge show ed the w hite Tesla driving with the M azda C-30 and pulling up to the

    blue DodgeRam .Based on the driving pattern,parking location,and tim espentin theparking lot

    without entering the store,it is reasonable to believe that the occupants of the white Tesla and




    iItshould be noted thatduring the interview ofthe owners ofthe blue Dodge Rnm and orange
    ToyotaCorolla,itwasdiscoveredthattheyhavetwölicenseplatesIBPI6I..
                                                                    TV andBPI3UVIthat
    were improperly affixed to theirvehicles.
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    occupantsoftheM azdaC-30 w orked togetherto steala licenseplate offofa sim ilarmake,m odel,

   and colorvehicle in orderto placethe m is-attributable license plate on theD odge Ram .

           18.    On June 24,2024,FB1 located and seized the white Tesla with the license plate

    IGD IORI''affxed to the rearof the vehicle.A sealed federalsearch warrantwas obtained,and on

   June 25,2024, 1aw enforcem ent extracted foot ge recorded by the Tesla's onboard computer

   system ,w hich included m ultiple cam erascapturing exteriorfootage.Footage revealed the w hite

   Tesla parked in the drivew ay of BM kN Alc 's residence parked nextto the black Dodge Ram

   m atching the description ofthe D odge Ram used in the TargetOffense.The footage also showed

   Clement.
          aJohnson(CIJO11NSON'')ashewasgettinginandoutofthepassengersideoftheDodge
   Ram . Foouge also revealed JOHN SON entering the driver'sside and departing in a light-colored

   M azda C-30.

                  On or about June 24, 2024, BARNA RD was arrested pursuant to a crim inal

   complaint.SeeCaseNo.24-mj-03234-Reid.
                                   Joknson and theM azda C-30

          20.      SeminoleHardRockCasinorEllardRockCasino'')advised1aw enforcementthat
   JOHN SON had an activeplayeraccountwith the casino. Further,surveillance footage from Hard

   Rock Casino showsthaton June 21,2024,at8:40 am .JO HN SON arrived alone in a light-colored

   MazdaC-30,bearingFloridalicenseplate95BKCV (thelGMazdaC-30'').TheMazdaC-30'sV.
                                                                                IN
   is 311V 311813M 11111648633 and is the vehicle is registered to P.V .Holding Corp,a car rental

   com pany.The H ard Rock Casino surveillance foot ge also show s thatJOHN SON departed the

   casino asthe driverand sole occupantofthe M azda C-30.
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           :
           i1. Recordscheck atP.V .Holding Corp,revealed thatthe M azda C-30 w asrented on
    June 14,2024,to D ioriBARN ARD .Thisvehicle w asscheduled to be retunzed on June 2l,2024,

    butwasnotreturned untilJune 28,2024.

           22.    A review of LPR database checks for the M azda C-30 license plate revealed its

    location on June 2l,2024,at7:56:52 pm ,in thevicinity ofV ictim 1'sresidence.TheM azda C-30

    was im m ediately behind the stolen Dodge Ram which hitthe LPR at7:56:57 pm .This location is

    approxim ately 1.3 m iles south ofV ictim 1'sResidence.

           23.    A dditionalLPR recordsindicatethaton June 22,2024,theM azda C-30 isrecorded

    by the M onroe County Sheriff s Office,Key Largo South LPR, located im m ediately over the

    Route 1 bridge onto K ey Largo. In an interview w ith Victim 1,1aw enforcem entleanzed thatshe

    w asin Key Largo on the evening ofJune 22,2024,w ith a reservation to stay atBaker'sCay Resort

    ($EResort'').0nJune28,2024,pursuanttoasealedfederalsearchwarrantoftheDodgeRam 1aw
    enforcem entsearched the black D odgeRam and recovered aResortvaletpasswith an arrivaldate

    of June 22,2024,and a departure date of June 26,2024.Law enforcem ent review ed security

    footage provided by the Resortand observed the D odge Ram and BARNA RD 'S white Tahoe

    follow V ictim l into the Resort'sparking area through the Resort'sfrontgate.

                  0n June 28,2024,pursuantto a sealed.federalsearch w arrant, law enforcem ent

    obtained BARN ARD 'Shistoricalcellsite data from his provider.Upon review ofthese records,

    law enforcem ent learned that BA RNA RD called JOHN SON on the evening of June 22,2024,

    while in the vicinity ofVictim 1's Residence.On June 23,2024,priorto driving the white Tesla
    to Victim 1's Residence, BARN ARD contacted JOHN SON . BARN ARD again conocted

    JOHN SON upon the white Tesla and the D odge Ram 's anivaloutside ofV ictim 1's Residence.

    JOHNSON,BARNARD,andadditionalunidentifiedphonenumbersthenappeartojoinagroup
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    phone callshortly thereafterwhile the Dodge Ram and the white Tesla are dow n the streetfrom

    Victim 1'sResidence.Based on m y training and experience,1believethatthe tim ing ofthisphone

    callin conjunction with thesequenceofeventsasobserved on residentialsulweillance foouge
    indicatesthatthe individualsinsidethe vehiclesw ere coordinating theireventualattack on V ictim

    1.In m y training and experience,this coordination and the dependence upon cellular devices to

    com m unicate during the course ofthe m urderforhire plotesu blishesthatthey conspired to use a

    facility ofintersuteorforeign com m erce and did use a facility ofinterstate and foreign com m erce

    to plan and execute theirattack on V ictim s 1 and 2.

                       ArrestOfJOHNSON Ident@cationOfBIVINS,FJZKAA
           25.     On oraboutJuly 1,2024,JOIIN SON wasarrested by 1aw enforcem entpursuantto

    acriminalcomplaint.SeeCaseNo.24-mj-03324-Goodman.Law enforcementIaterlearnedthe
    followingabouttheplottokillVictim 1thatledtotheJune23,2024 assaultwithafirearm!1)
    JOHNSON washiredtomurderVictim 1byAveryBIVINS;2)BIVINShadbeenaskedbyamale
    he m etin prison known to him as(dcuba,''to m urderV ICTIM 1,and Cuba wasacting on behalf

    ofVictim 1'sestrangedhusband,Pino;3)CubatoldBIVINStomakeitlookclean;4)Cuba'sreal
    nam e wasunknow n,butitwasbelieved thathe w asstocky,the ownerofa roofing com pany,and

    drivipg agreyDodgeRam;and4)GREEN wasthegunman.GREEN wasarresledpursuantto
    criminalcomplaint.SeeCaseNo.24-mj-03414-E1fenbein.
           26.     A law enforcem entanalystreviewed Pino'shistoricalW hatsApp callrecordsm ade

    to andfrom Pino'sdeviceandisolatedacallonJune21,2024,bytelephonenumber(786)260-
    2876. Based on a 1aw enforcem ent database search,subscriber inform ation for this cellular

    telephonecameback to Fausto Villar(GGVILLAR'').VILLAR'SwifeistheownerofEvalution
    Roofng LLC and VILLAR istheregistered ownerofa 2024 grey D odge Ram .VILLAR 'SD odge


                                                    9
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    Ram has been photographed w ith an Evalution Roofing LLC m agnetaffixed to the side of the

    vehicle. Further law enforcem ent investigation revealed thatW LLA R and BIV INS overlapped

    term s of im prisonm entduring the years 2012 -2016 in the Florida Departm ent of Corrections.

    This previously learned inform ation that VILLA R m et BIVIN S w hile serving a prison

    sentence. Additionally,during the month ofJune 2024,VILLAR made sixteen W hatsApp calls

    with Pino,nine ofwhich occurred on June 21,2024.

                  O n July 8, 2024,law enforcem ent obtained a sealed federalsearch w arrant for

    BIVIN S'person,residence,and electronic devices.

           28.    On Fridap July 12,2024,law enforcementcontacted BIVINS who voluntarily
    agreedto m eetwith 1aw enforcem entunderthe adviceofcounsel.Law enforcem entexplained that

    they w ere in possession ofthe above-m entioned federalsearch warrant.

           29.    Law enforcem entlaterlearned the follow ing aboutthe plotto killV ictim 1thatled

    totheJune23,2024 assaultwith aGrearm:1)BIVINSknew W LLAR asRcuba''andthatthey
    knew eachotherfrom stateprison and theyremainedin contactaftertheirrelease;2)VILLAR
    contactedBIW NSinoraroundOctoberorNovember2023aboutawealthyman(lateridentifed
    asPino)whocontractedhim tokillhisestrangedwife(Victim l);3)VILLAR enlistedBIVINSto
    gatheragroup forthejob;4)accordingtoVILLAR Victim lwanted halfofwhatPinoowned
    andwouldnotsettlefortlzeoffered20million dollars;and5)BIW NS conuctedJOHNSON to
    kill Victim 1.JOHN SON researched V ictim 1 and Pino and explained to BIV INS how m uch

    m oney they possessed.

           30.    V ILLA R and BIVIN S m etm ultipletim eand BIVW S accepted them urdercontract.

    Law enforcement learned that Pino was willing to pay $150,000 for the murder contract's
    completion and there would be an additional$150,000 ifthe contractwas carried outwithout


                                                 10
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    detection.VILLAR alsoprovidedtwocashpaymentsof$30,000and $45,000 up frontduring two
    separate m eetings.VILLAR provided syringesand vialsto use during theexecution ofthe m urder

    contract.BIVIN S has connections to JOHN SON who brought on other individuals including

    BA RN ARD to completethe contract.

                  Law enforcem entlearned thatVILLAR provided a deadline of June 24,2024,to

    killV ictim 1,to ensurethatshe could notm akethe nextdivorceproceeding between herand Pino.

    JOHN SON and the othersbegan stalking V ictim 1 som etim e afterJune 11,2024.From June 19 to

    23,2024,JOHN SON and others su lked V ictim 1 atseverallocations overm ultiple days.BIVIN S

    was in consistentcontactw ith JOHN SON throughoutthisperiod oftim e.

                  Afterthe June 23,2024,assaultwith a firearm ,JOHN SON conu cted BIVINS and

    stated thejob was completed.BIVINS relayed thisinformation to VILLAR.Laterthatday,
    VILLAR 'S cellular device used a tow erthatservices the area of Victim 1's residence.VILLAR

    then conhcted BIV IN S explaining thathe saw 1aw enforcem entpresence atV ictim l's residence.

            33.   BIVIN S m etVILLAR three distincttim esto collectthe m oney syringes,and vials

    conuininganinjectablesubstnce.A comparisonofthehistoricalcellsitedatabetweenBI'
                                                                                  W NS
    and VILLAR show sthatthey m eton June 5,2024,atapproxim ately 7:30 pm ;June 11,2024,at

    approxim ately 8pm ;and June 27,2024,atapproxim ately 8:15 pm .

            34.   A fter BARNA RD and JOHN SON 'S arrests,BIV INS notified V ILLA R of their

    arrests.W LLAR expressedthattthisboy,''(Pino)wasworriedabouttheirarrests.VILLAR stated
    hew ould contactPino form oney to covertheirlegalfees.Law enforcementlearned thatW LLAR

    was using a burnertelephone thatthey had been using to com m unicate since approxim ately June

    2024.
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           35.     On July 12,2024,law enforcem entobtained a sealed federalsearch w arrantforone

    ofW LLA R'S cellulartelephone devicesthatincluded prospective cellulardata.The inform ation

    obtained from thiswarrantprovides1aw enforcem entwith live cellulartow erusage ofthe device.

    Law enforcem entbegan receiving this inform ation on July 14,2024.

                   On July 15,2024,law enforcem entm onitored a voluntarily recorded callbetween

    BIV IN S and VILLA R using their burnertelephones.During the call,V ILLA R im pressed upon

    BIV IN S thatthey needed to cease contactand lay low until(ûthe sm oke clears.''W LLA R implied

    to BIVIN S thathe could notgetm orem oney from Pino because law enforcem entw asm onitoring

    Pino.VILLAR instructed BIW N S to delete his Instagram ,clearhisphone logs,and to getrid of

    his burnertelephone.V ILLAR talks aboutifthe Grstattempts on Victim 1 getconnected to the

    attem pt involved w ith BIVIN S that they could be charged w ith conspiracy. VILLA R also

    instructed BIVIN S to m ake surethatthe arrested individualsdid notgiveup BIVIN S and W LLA R

    by m aking itseem like the robbery w as a crim e of opportunity.V ILLA R tells BIV IN S to û'take

    care ofhispeople''and im plieshe needsto keep them in line and thatthere w illbe agiftafterward

    forthe two ofthem and the arrested individualsifthey do so.VILLAR 'S solicitation thatBIVIN S

    falsely accept responsibility for a robbery,rather than a m urder for hire is in accord w ith prior

    effortsby Pino apd his associates to use obstructive m eans to advance their illicitgoals through
                      .




    fraud and deceit. For com parison, this investigation has identiGed Pino's solicitation of

    individualsto burn hisown caron September7,2023,shootathispropeo ,and provide false
    Statem entsto law enforcem entagents.

           37.     Im m ediately after BIVIN S and VILLAR 'S recorded call, law enforcem ent

    m onitored thepen registertrap and trace associated with Pino'sknown cellulartelephonenum ber.

    Law enforcem ent observed a W hatsApp callbetween V ILLA R'Sprim ary cellular device and


                                                    12
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       Pino that lasted approxim ately three m inutes and tifteen seconds. VILLAR and Pino also

       exchanged W hatsApp m essages during thistim e.

              38.    Through pen register trap and trace as wellastolldata,1aw enforcem entlearned

       thatthroughoutthecourseofthesecondmurderforhireeffortallsubjectscoordinatedtheirefforts
       using cellular devices that utilized a facility of intersu te or foreign com m erce.For exnm ple,

       throughoutthe murder efforq data suggests there is a consistent and synchronized tqow of

       inform ation beginning with Pino to V ILLA R.Thatdat.
                                                           a continues to show W LLA R contacting

       BIVIN S who would then contct JOHN SON who then contacted GREEN ,BA RNA RD, and

       others.The sam e synchronized flow of information can be seen in reverse back to Pino.This flow

       of inform ation existssurrounding signifk anteventscorrelated to attackson V ictim 1.

                                              CON CLUSIO N

              39.    Based upon the foregoing,I subm itthatthere is probable cause forthe proposed

       complaintcharging VILLAR w ith the offensesofM urderforH ire,in violation ofTitle 18,United

       Sttes Code, Section 1958; Stalking, in V iolation of Title 18, United States Code, Section

       2261A(2);PossessionofaFirearm inFurtheranceofaCrimeofViolence,inviolationofTitlel8,
       UnitedStatesCode,Section 924(c),
                                      'and ObstructionofJustice,inviolation ofTitle 18,United
       Sttes Code,Section l503 and 2.

              FU RTHER A FFIAN T SAYETH N AU GHT.


                                                                                        Badge N0.100722
                                                      CON OR GOEPEL
                                                      SPECIM A GEN T
                                                      FED ERAL BUREA U OF IN VESTIGATION
   Attested to by the applicantin accordance w ith the requirem entsofFed.R.Crim .P.4.1
   by Face Tim e this 17th day ofJuly 2024.

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   HONORABLE             RW FULGEIRA ELFENBEIN
   UN ITED STATES M AGISTM TE JUD GE
